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                    IN THE UNITED STATES DISTRICT COURT
                                                                             FILED
                        FOR THE DISTRICT OF MONTANA                          JAN 24 2019
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    WESTERN ORGANIZATION OF                          CV 18-139-M-DWM
    RESOURCE COUNCILS,

                Plaintiff,
                                                           OPINION
         vs.                                              and ORDER

    DAVID BERNHARDT, 1 et al.,

                Defendants.


        In August 2018, Plaintiff Western Organization of Resource Councils

("Western") sued various officials within the Department of the Interior

("Defendants"), challenging the establishment and operation of the Royalty Policy

Committee ("Royalty Committee" or "Committee") under the Federal Advisory

Committee Act ("FACA"). The Secretary of the Interior established the Royalty

Committee to provide advice on issues related to the leasing of energy and mineral

resources on Federal and Indian lands. (Doc. 25 at 15.) According to Western,

"Rather than pursue its task with the full and transparent participation of [the

public], the Committee operates in secret and works to advance the goals of only

one interest: the extractive industries that profit from the development of public



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    See Fed. R. Civ. P. 25(d).
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gas, oil, and coal." (First Amend. Compl., Doc. 14 at, 2.) Defendants seek to

dismiss Western's complaint pursuant to Rule 12(b)(l) and (b)(6) of the Federal

Rules of Civil Procedure. (Doc. 24.) Western seeks to preliminarily enjoin

Committee operations, including activities conducted by its subcommittees and

working groups. (Doc. 17.) Argument was heard on the pending motions on

January 16, 2019.

      As explained further below, Defendants' motion to dismiss is granted as to

Counts 3 and 4 but denied as to Counts 1 and 2. Western's request for a

preliminary injunction is denied.

                                    BACKGROUND

I.    FACA

      "Congress passed FACA in 1972 to address whether and to what extent

committees, boards, and councils should be maintained to advise Executive Branch

officers and agencies." Cummock v. Gore, 180 F .3d 282, 284 (D.C. Cir. 1999)

(internal citation omitted). "Congress recognized that advisory committees are

frequently a useful and beneficial means of furnishing expert advice, ideas and

diverse opinions to the Federal Government. However, Congress also feared the

proliferation of costly committees, which were often dominated by representatives

of industry and other special interests seeking to advance their own agendas." Id.

(internal quotation marks and citation omitted). Enacting FACA,

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      Congress struck a balance between these concerns, by preserving the
      advisory committee mechanism for informing policy decisions, while
      ensuring "that new advisory committees be established only when
      essential and that their number be minimized; that they be terminated
      when they have outlived their usefulness; that their creation, operation,
      and duration be subject to uniform standards and procedures; that
      Congress and the public remain apprised of their existence, activities,
      and cost; and that their work be exclusively advisory in nature."

Id. at 285 (quoting Pub. Citizen v. US. Dep't ofJustice, 491 U.S. 440,446 (1989)).

      FACA outlines a number of requirements governing the creation and

operation of such "advisory committees." See 5 U.S.C. App. II § 3(2). For

instance, membership must be "fairly balanced in terms of the points of view

represented and the functions to be performed" and a committee's advice must

reflect its "independent judgment" without inappropriate influences from the

appointing authority or special interests. Id. at§ 5(b)(2), (3). Additionally, once

established, an advisory committee must open its meetings to the public, id. at

§ IO(a)(l), publish advance notice of its meetings, id. at§ 10(a)(2), and make

publicly available records, drafts, studies, and other documents that were made

available to or prepared by or for the committee, id. at § 1O(b ). Additionally,

FACA requires federal agencies to "establish uniform administrative guidelines

and management controls for advisory committees established by the agency." Id.

at§ 8(a).

II.   Royalty Committee

      The Royalty Committee was first established in 2004, with a mandate to
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"review and comment on revenue management and other mineral-related policies"

stemming from Federal and Indian mineral leases. 69 Fed. Reg. 19876-02 (Apr.

14, 2004). The Committee's charter lapsed in 2014. It was reestablished in its

current form in 2017 with a similar mandate to "advise on current and emerging

issues related to the determination of fair market value, and the collection of

revenue from energy and mineral resources on Federal and Indian lands," as well

as "on the potential impacts of proposed policies and regulations related to revenue

collection from such development, including whether a need exists for regulatory

reform." 82 Fed. Reg. 16222-01 (Apr. 3, 2017). The Committee is comprised of:

      - Seven officials from the Department of the Interior;
      - Up to six representatives of governors of states that receive at least
        $10,000,000 annually in royalty revenues from federal leases;
      - Up to four representatives of Indian Tribes that are subject to laws
        relating to mineral development;
      - Up to six representatives of various mineral and/or energy
        stakeholders; and
      - Up to four members representing academic and public interest
        groups.

(Royalty Committee Charter, Ex. R, Doc. 18-18 at 112.) It is administered by the

Office ofNatural Resources Revenue. (Id. at 16.)

      To date, the Committee has held four meetings, see 82 Fed. Reg. 41646

(Sept. 1, 2017) (announcing Oct. 4, 2017 meeting); 83 Fed. Reg. 6613 (Feb. 14,

2018) (announcing Feb. 28, 2018 meeting); 83 Fed. Reg. 22989 (May 17, 2018)

(announcing June 6, 2018 meeting); 83 Fed. Reg. 40081 (Aug. 13, 2018)


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(announcing Sept. 13, 2018 meeting), and maintains its materials at its website:

https://www.doi.gov/rpc.

       The next Committee meeting was scheduled for January 31, 2019, but that

meeting has since been cancelled due to the lapse in appropriations. (See Schindler

Deel., Doc. 35-1 at 15.) Additionally, all members of the Committee were told

that no "[Committee]-related work should occur during the shutdown, including

any informal collaboration among non-federal members of the Committee." (Id.)

All subcommittee meetings were also cancelled for the duration of the shutdown.

(Jd. at 13.) However, Western has pointed to news articles indicating certain

leasing work was to continue despite the shutdown, (see Doc. 36 at 4 (citing

"Trump Administration Working on Arctic Oil Leases Despite Shutdown," Reuters

(Jan. 9, 2019))), raising some question as to continued operations.

III.   The Present Case

       Western is a Montana-based organization self-described as "a regional

network of grassroots community organizations," that seeks "to build sustainable

environmental and economic communities that balance economic growth with

public health and stewardship of land, water, and air resources." (Doc. 14 at 117.)

In its original complaint, Western named as defendants the Department of the

Interior; the Bureau of Land Management; Ryan Zinke, Secretary of the Interior;

Vincent DeVito, Counselor for Energy Policy to the Secretary of the Interior; and

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Brian Steed, Deputy Director of Policy and Programs for the Bureau of Land

Management. (Doc. 1.) Western alleges that the Royalty Commission was

established in violation ofFACA (Count 1) and that its operation violates FACA's

requirement that it: ( 1) provide public notice of its meetings and publicly

disseminate its materials (Count 2); (2) ensure that its membership be "fairly

balanced" (Count 3); and (3) exercise independent judgment without inappropriate

influences from special interests (Count 4).

      On November 2, 2018, Defendants moved to dismiss Western's original

complaint, arguing that (1) Western lacked standing, (2) Counts 3 and 4 are non-

justiciable, and (3) Counts 1 and 2 fail to state a claim. (Doc. 12.) On November

23, 2018, Western filed its First Amended Complaint, replacing Defendant DeVito

with Scott Angelle, Director of the Bureau of Safety & Environmental

Enforcement. (Doc. 14); see also Fed. R. Civ. P. 25(d). Although Western added

factual information, the First Amended Complaint contains the same four claims as

the original complaint. In light of Western's amended pleading, Defendants'

motion to dismiss, (Doc. 12), was denied subject to renewal, (Doc. 15).

      On November 28, 2018, Western filed a motion for preliminary injunction,

asking the Court to enjoin any further Committee and subcommittee meetings and

operations-specifically the one scheduled for January 31, 2019-until Defendants

comply with FACA's implementing regulations. (Doc. 17.) On December 17,


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2018, Defendants filed a renewed motion to dismiss combined with their response

to Western's motion. (Doc. 24.) The grounds for dismissal were substantially the

same as those argued in Defendants' previous motion. ( Compare Doc. 13 with

Doc. 25.) On January 10, Defendants unsuccessfully sought to stay proceedings in

light of the lapse in appropriations. (Doc. 34.) In that filing, Defendants indicated

that the January 31 Committee meeting was cancelled, and other Committee

operations were suspended during the lapse. (Doc. 35.) Western argues, however,

that certain subcommittee and working group work is slated to continue. (See Doc.

36.)

                              SUMMARY CONCLUSION

       The parties take a fundamentally different view of the nature ofFACA.

Western's allegations, and the basis for its pending motion, rest on the principle

purpose behind its enactment: the requirement that advisory committee work be

both efficient and transparent. Defendants, on the other hand, base their arguments

on the minimum required to comply with the text of the Act. While the dichotomy

of these approaches is not dispositive, it highlights a troubling trend within the

current administration's view of governing and the rule of law.

       The survival of the majority ofWestern's claims depends on whether or not

the Bureau of Land Management's ("BLM") implementing regulations under 43

C.F .R. subpart 1784 apply to the Royalty Committee. Because they do not, and

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FACA alone does not provide an adequate basis for judicial review, all but two of

Western's claims are dismissed as non-justiciable under the Administrative

Procedure Act ("APA").

                                       ANALYSIS

      Because a court must assess its subject-matter jurisdiction with respect to a

claim before ruling on the merits, see Ruhrgas AG v. Marathon Oil Co., 526 U.S.

574, 584 (1999), Defendants' motion to dismiss is addressed first below.

I.    Dismissal

      A.     Legal Standards

             1.     Rule 12(b)(1)

      A Rule 12(b)(1) motion challenges a federal court's jurisdiction over the

subject matter of the complaint. The motion may be brought on either facial or

factual grounds. Safe Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir.

2004). "In a facial attack, the challenger asserts that the allegations contained in a

complaint are insufficient on their face to invoke federal jurisdiction. By contrast,

in a factual attack, the challenger disputes the truth of the allegations that, by

themselves, would otherwise invoke federal jurisdiction." Id. Western, as the

party invoking the court's jurisdiction, bears the burden of establishing that the

court has the requisite subject matter jurisdiction to grant the relief requested.

Kokken v. Guardian Life Ins. Co. ofAm., 511 U.S. 375,377 (1994).

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             2.     Rule 12(b)(6)

      A motion under Rule 12(b)(6) challenges the sufficiency of the plaintiffs

pleadings. To survive a Rule 12(b)(6) motion to dismiss for failure to state a claim

upon which relief can be granted, a plaintiffs complaint must allege "enough facts

to state a claim to relief that is plausible on its face." Bell At/. Corp. v. Twombly,

550 U.S. 544, 570 (2007); Fed. R. Civ. P. 8(a). The "facial plausibility" standard

requires the plaintiff to allege facts that add up to "more than a sheer possibility

that a defendant has acted unlawfully." Ashcroft v. Iqbal, 556 U.S. 662, 678-79

(2009). In reviewing such a motion, a court must accept as true all well-pleaded

facts in the complaint but is not required to accept "allegations that are merely

conclusory, unwarranted deductions of fact, or unreasonable inferences." In re

Gilead Sci. Sec. Litig., 536 F.3d 1049, 1055 (9th Cir. 2008).

      B.     Standing (Counts 1, 3, and 4)

      Defendants first argue that Western has not met its burden of establishing

Article III standing with respect to three of its claims. 2 To have standing, "[t]he

plaintiff must have (1) suffered an injury in fact, (2) that is fairly traceable to the

challenged conduct of the defendant, and (3) that is likely to be redressed by a


2
   Defendants' original motion challenged Western's standing to bring all four
claims. (See Docs. 12, 13.) It is now undisputed that Western has standing for its
informational challenge (Count 2). See Pub. Citizen, 491 U.S. at 449 (holding that
two advocacy organizations' failure to obtain information subject to disclosure
under FACA "constitutes sufficiently distinct injury to provide standing to sue").
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favorable judicial decision." Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016)

(citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992)). The plaintiff

must establish these elements for each claim, Town of Chester, NY. v. Laroe

Estates, Inc., 137 S. Ct. 1645, 1650 (2017), and "clearly allege facts demonstrating

each element," Spokeo, 136 S. Ct. at 1547 (alteration and internal quotation marks

omitted).

      Western brings this action "on its own behalf," (Doc. 14 at 119), and "on

behalf of its members," (id. at 1 23 ). Accordingly, it must establish standing "as a

representative of its members" (associational standing) or "in its own right"

(organizational standing). Smith v. Pac. Properties & Dev't Corp., 358 F.3d 1097,

1101 (9th Cir. 2004). Defendants argue that Counts 1, 3, and 4 all hinge on

procedural provisions of FACA and Western fails to show "some concrete interest

that is affected by the [alleged] deprivation" under either theory. (Doc. 25 at 22

(quoting Summers v. Earth Island Inst., 555 U.S. 488,496 (2009).) Western has

organizational standing to bring its claims. 3


3
  Because Western has standing under this theory, associational standing is not
addressed. However, Defendants likely have the better argument that Western's
allegation that "its members are injured by policies encouraging the irresponsible
leasing of public minerals nearby their properties, and by the [Committee]' s failure
to consider policies that would ameliorate localized environmental destruction,"
(Doc. 31 at 21-22), is too speculative given the nature of the Committee and its
work. Western does not show the harms identified can be linked to the unlawful
creation of the Committee (Count 1) or biased, unbalanced membership (Counts 3,
4). Absent a more specific proposal in a more specific area, it seems that the
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      To establish organizational standing, a plaintiff must satisfy the same test

used to assess "standing in the context of an individual plaintiff." La Asociacion

de Trabajadores de Lake Forest v. City ofLake Forest (Lake Forest), 624 F.3d

1083, 1088 (9th Cir. 2010). An organization can establish such "standing by

showing that the challenged practices have perceptibly impaired their ability to

provide the services they were formed to provide." E. Bay Sanctuary Covenant v.

Trump, 909 F.3d 1219, 1241 (9th Cir. 2018) (internal quotation marks and

alterations omitted). "[A] diversion-of-resources injury is sufficient to establish

organizational standing for the purposes of Article III if the organization shows

that, independent of the litigation, the challenged policy frustrates the

organization's goals and requires the organization to expend resources in

representing clients they otherwise would spend in other ways." Id (internal

quotation marks and citations omitted). Western argues that it has suffered three

injuries sufficient to establish organizational standing: ( 1) procedural injuries under

FACA, (2) informational injuries under FACA's implementing regulations, and (3)

injuries to its ability to function as an organization. (Doc. 31 at 14.) Its argument

for procedural injury is sufficient to confer standing.

      In evaluating Western's claims under a "procedural injury" framework, the

Court must determine "(1) whether [FACA] was established to protect [Western's]


members do not have standing to sue in their own right.
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concrete interests (as opposed to purely procedural rights), and if so, (2) whether

the specific procedural violations alleged in the case actually harm, or present a

material risk of harm to, such interests." Robins v. Spokeo, Inc. (Spokeo II), 867

F.3d 1108, 1113 (9th Cir. 2017); Friends ofSanta Clara River v. US. Army Corps

ofEng'rs, 887 F.3d 906, 918 (9th Cir. 2018).

      "In determining whether an intangible harm constitutes injury in fact, both

history and the judgment of Congress play important roles." Spokeo, 136 S. Ct. at

1549 ("Congress has the power to define injuries and articulate chains of causation

that will give rise to a case or controversy where none existed before.") (internal

quotation marks omitted). In enacting FACA, "Congress aimed ... to control the

advisory committee process and to open to public scrutiny the manner in which

government agencies obtain information from private individuals," specifically,

"special interest groups." Cummock, 180 F.3d at 285. FACA was therefore

created to protect the public's participation and concrete interest in unbiased,

useful, and productive advisory committees. See id. To achieve this end, FACA

places numerous regulatory burdens on the creation and administration of such

committees. Id.

      Guided by Congress's judgment and prior judicial decisions under F ACA, it

is reasonable to conclude that the FACA procedures at issue in this case were

crafted to protect the public's concrete interest in the unbiased and productive

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establishment and operation of advisory committees. See Pub. Citizen, 491 U.S. at

449 (holding that allegations regarding the denial of participation in committee

meetings "constitutes a sufficiently distinct injury to provide standing" under

FACA). And, this interest goes beyond that of public access to records and

committee materials. For example, "legislative history makes clear[] the 'fairly

balanced' requirement [as alleged in Count 3] was designed to ensure that persons

or groups directly affected by the work of particular advisory committee would

have some representation on the committee." Nat'/ Anti-Hunger Coal. v. Exec.

Comm. ofPresident's Private Sector Survey on Cost Control, 711 F .2d 1071, 1074

n.2 (D.C. Cir. 1983).

      Thus, the next question is whether Western has alleged FACA violations

"that actually harm, or at least that actually create a material risk of harm to, this

concrete interest." Spokeo II, 867 F.3d at 1115 (internal quotation marks omitted).

It seems that it does. If the concrete interest at stake is participation in and

oversight for advisory committees, creating unnecessary committees that cut the

public out of the process or having an allegedly one-sided committee are direct

threats to that interest. Specifically, when an advisory committee is unnecessarily

established or § 5 's "fairly balanced" or "inappropriately influenced" requirements

are ignored and groups directly affected by the work of the committee lack

representation, "persons having a direct interest in the committee's purpose suffer

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injury-in-fact sufficient to confer standing to sue." See Nat'! Anti-Hunger Coal.,

711 F .2d at 1074 n.2. And, Western has alleged that the actions of the Committee

have interfered with Western' s ability to provide services to its members,

frustrating it goals. (Doc. 14 at ,r 20); see E. Bay, 909 F.3d at 1241. Thus, Western

has alleged procedural injury sufficient to confer organizational standing as to

Counts 1, 3, and 4.

      That said, Western's informational and functional injury arguments do not

contribute to a finding of standing. Western argues injury exists because it has

been denied information about the Committee's composition and membership. In

doing so, Western relies on BLM regulation 43 C.F.R. § 1784.2-2(a), (c), which

requires members of advisory committees to disclose direct or indirect interest( s)

(including of spouses) involving land administered by the BLM. However, as

discussed below, the Royalty Committee is not governed by the BLM regulations.

Thus, this alleged injury does not provide a basis for standing. Additionally,

Western alleges injury related to Counts 3 and 4 insofar as the Committee's actions

impair Western' s ability to function as an organization. Western argues that

"Defendants have disrupted [Western]'s operations by denying [it] and likeminded

representatives even a single seat on the Committee." (Doc. 31 at 18.) While

Western may have a good argument under National Anti-Hunger Coalition, see

711 F .2d at 1074 n.2 (finding that organizations that sought but were denied

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membership on committee in which they had a direct interest suffered an injury in

fact), as of the writing of this Order, Westem's application for membership is

pending. See 83 Fed. Reg. 49943 (Oct. 3, 2018) (announcement for nominations

for new Committee membership); (Doc. 18 at 21 n.7). Contrary to Westem's

argument, the Court cannot make a prediction about whether or not the Committee

will deny it. This type of speculative injury does not provide a basis for standing.

But, as discussed above, Western alleges procedural injury sufficient to confer

Article III standing for Counts 1, 3, and 4.

       C.    Justiciability (Counts 3 and 4)

       Defendants argue that Counts 3 and 4 are non-justiciable because they cover

matters that have been "committed to agency discretion" under the APA. Judicial

review is unavailable under the AP A where "statutes preclude judicial review" or

"agency action is committed to agency discretion by law." 5 U.S.C.

§ 701(a)(l)-(2). An action is committed to agency discretion when "the statute is

drawn so a court would have no meaningful standard against which to judge the

agency's exercise of discretion." Heckler v. Chaney, 470 U.S. 821, 830 (1985).

Where that is so, the court lacks jurisdiction. See Spencer Enters., Inc. v. United

States, 345 F.3d 683, 691 (9th Cir. 2003) (characterizing§ 706(a)(2) as "the APA's

jurisdictional bar").

       Count 3 of the First Amended Complaint alleges that the Committee is not

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"fairly balanced in terms of the points of view represented and the functions to be

performed by the advisory committee." (Doc. 14 at, 110 (quoting 5 U.S.C. App.

II§ 5(b)(2)).) Count 4 claims that the Committee lacks "appropriate provisions to

assure that the advice and recommendations of the advisory committee will not be

inappropriately influenced by the appointing authority or any special interest." (Id.

at, 113 (quoting 5 U.S.C. App. II§ 5(b)(3)).) Defendants argue that "[b]ecause

FACA provides no meaningful standards for assessing whether [they] have

complied with these provisions, the Court lacks jurisdiction over these two

claims." (Doc. 25 at 31.) The question is whether the "particular statutes contain

sufficiently definite standards for [courts] to apply to allow for judicial review."

Ctr. for Policy Analysis on Trade & Health (CPATH) v. Office of U.S. Trade

Representative, 540 F.3d 940, 946 (9th Cir. 2008), as amended (Oct. 8, 2008).

             1.     Count Three: Section 5(b)(2) - Fair Membership Balance

      In CPATH, the Ninth Circuit examined the composition of the Industry

Trade Committees, which were required under the Trade Act to "be representative

of all industry, labor, agricultural, or service interests (including small business

interests) in the sector or functional areas concerned." Id. at 945 (quoting 19

U.S.C. § 2155(c)(2)). The court concluded that neither FACA nor the Trade Act

supplied a standard against which the court could judge whether the viewpoints

represented on the advisory committee were "fairly balanced." Id. The court

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further stated that F ACA does not "articulate what perspective must be considered

when determining if an advisory committee is fairly balanced." Id. Thus, whether

the committee was "fairly balanced" was a "hopelessly manipulable" "political

question that [was] best left to the other branches of government." Id. (citing Pub.

Citizen v. Nat'! Advisory Comm. on Microbiological Criteria/or Foods, 886 F.2d

419, 426-30 (D.C. Cir. 1989) (Silberman, J., concurring)). However, the court

clarified that the justiciability of "fairly balanced" in other circumstances "remains

an open question" depending on the applicable statutes and implementing

regulations. Id. at 947.

      Following CPATH, Western can only succeed if it shows that some authority

other than FACA provides a sufficient standard for review. To do so, Western

relies on the BLM regulations under Title 43, subpart 1784 of the Code of Federal

Regulations. The Tenth Circuit has held that the Department's implementing

regulations for resource advisory committees, 43 C.F.R. §§ 1784.2-1, 1784.6-1, are

sufficient to create a reviewable controversy on the "fairly balanced" question

under the APA. See Col. Env'tl Coal. v. Wenker, 353 F.3d 1221, 1223-24 (10th

Cir. 2004) (per curiam). However, Wenker relies heavily on standards outlined in

43 C.F.R. §§ 1784.6-l(c), 1784.6-2, which govern appointments to BLM resource

advisory committees. These regulations specifically outline "categories of

interests [that] are entitled to representation on [resource advisory committees]"

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and provides three specific "models" for organization. Id. at 1233-34. Thus, the

threshold question is whether the Royalty Committee is governed by these

regulations. Defendants make a compelling argument that it is not.

      As argued by Western, there are a number of potentially applicable

regulations that govern BLM advisory committees. See 43 C.F.R. §§ 1784.0-1 to

1785.6-2. Relevant here, the Department requires an advisory committee's

membership to provide "representative counsel and advice about public land and

resource planning, retention, management, and disposal," 43 C.F.R. § 1784.2-l(a),

and generally prohibits committee membership for "[p]ersons or employees of

organizations who hold leases, licenses, permits, contracts or claims which involve

lands or resources administered by the [BLM]," 43 C.F.R. § l 784.2-2(a).

Accordingly, "[m]embers of advisory committees shall be required to disclose their

direct or indirect interest in leases, licenses, permits, contracts, or claims and

related litigation which involve lands or resources administered by the [BLM],"

including holdings of spouses and children. 43 C.F.R. § 1784.2-2(c). The

Department has also extended F ACA' s open meetings requirements to

subcommittee and working group meetings. 43 C.F.R. § 1784.4-3. The

regulations also require 30 days' notice of these meetings and full committee

meetings. 43 C.F.R. § 1784.4-2(a).

      While these regulations could potentially provide sufficient standards for

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assessing the "fairly balanced" requirement under § 5(b)(2), they only apply to

advisory committees created to address "matters relating to public lands and

resources under the administrative jurisdiction of the [BLM]." 43 C.F.R. § 1784.0-

1. "Public lands" as defined in this subpart excludes the Outer Continental Shelf

and Indian trust land, 43 C.F.R. § 1784.0-S(e), both of which play a large role in

the Royalty Committee's work. Additionally, neither the Committee's Charter nor

its Notice of Establishment reference Subpart 1784, unlike those that generally fall

under BLM's purview. (See Charter of the Grand Staircase-Escalante National

Monument Advisory Committee, Ex. 6, Doc. 25-6 at 1 2.) Rather, the Committee

is administered by the Office of Natural Resources Revenue, which is independent

from the BLM. Compare 82 Fed. Reg. 16222 (Apr. 3, 2017) ("AGENCY: Office

ofNatural Resources Revenue") with, e.g., 83 Fed. Reg. 44302 (Aug. 30, 2018)

("AGENCY: Bureau of Land Management, Interior"). While it is concerning that

the Department can structure an advisory committee whose work overwhelmingly

involves the administration of BLM lands as to avoid the more stringent BLM

advisory committee regulations, it has succeeded in doing so here. As a result,

Western cannot rely on the BLM' s advisory committee regulations to provide

sufficient standards to assess whether the Royalty Committee is "fairly balanced."

             2.    Count Four: Section 5(b)(3) - Inappropriate Influence

      Defendants further argue that the reasoning under § 5(b)(2) compels the

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same non-justiciable result for "inappropriately influenced" claims under § 5(b)(3),

citing Physicians Comm. for Responsible Medicine v. Vi/sack, 2016 WL 5930585,

at *1 (N.D. Cal. Oct. 12, 2016). Defendants are correct. Moreover, Western's

argument for the justiciability of this claim is even weaker than its claim under

§ 5(b)(2). Even ifWestern's dependence on the BLM regulations was warranted,

its § 5(b)(3) claim would still be non-justiciable because neither those regulations

nor FACA provide a meaningful standard for what amounts to "inappropriate"

influence. Wenker, 353 F.3d at 1230-32 (concluding that while§ 5(b)(2) ("fairly

balanced") was justiciable in context of resource advisory committees under BLM,

§ 5(b)(3) ("inappropriate influence") was not).

      Accordingly, Counts 3 and 4 are dismissed as nonjusticiable.

D.    Failure to State a Claim

      Finally, Defendants unsuccessfully argue that Counts 1 and 2 should be

dismissed for failure to state a claim under Rule 12(b)(6).

      1.     Count One: Establishment of the Committee

      F ACA requires that, before an agency head establishes an advisory

committee, he or she must determine "as a matter of formal record, ... with timely

notice published in the Federal Register," that the committee "is in the public

interest in connection with the performance of duties imposed on that agency by

law." 5 U.S.C. App. II § 9(a)(2). Additionally, FACA's implementing regulations

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require that an advisory committee "may be established only when it is essential to

the conduct of agency business and when the information to be obtained is not

already available through another advisory committee or source within the Federal

Government." 41 C.F.R. § 102-3.30(a).

      Defendants insist Western fails to state a claim because the Secretary is

merely required to certify the necessity of the committee, not justify it. In 2004,

then-Secretary Gale Norton certified "that the Royalty Policy Committee is in the

public interest in connection with the performance of duties imposed on the

Department of the Interior." 69 Fed. Reg. 19876-02 (Apr. 14, 2004). Similarly, in

2017, then-Secretary Zinke certified "that the Royalty Policy Committee is

necessary, is in the public interest, and is established under the authority of the

Secretary of the Interior, in support of greater transparency in creating royalty and

leasing policy for mineral production on Federal and Tribal lands." 82 Fed. Reg.

16222-01 (Apr. 3, 2017).

      Western argues that a conclusory certification sentence does not meet the

agency's duty under the APA to "examine the relevant data and articulate a

satisfactory explanation for its action[,] including a rational connection between

the facts found and the choice made." Defenders of Wildlife v. Zinke, 856 F.3d

1248, 1262 (9th Cir. 2017) (internal quotation marks omitted). Western has the

better argument. While Defendants may be correct that the Secretary's decision is

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unreviewable once an assessment of the public interest is made, the failure to

provide a factual basis for that decision is reviewable under the AP A. Defendants'

motion to dismiss is denied as to Count 1.

             2.    Count Two: Public Meetings and Records

      Pursuant to FACA, advisory committees have an obligation to provide

notice of meetings, make available records and materials, and permit public

participation in meetings. 5 U.S.C. App. II§ 10. Defendants challenge Western's

application of this "openness" standard to subcommittees and working groups.

Generally, there is no open meeting requirement for subcommittees or working

groups. See 41 C.F.R. § 102-3.35(a). However, that general rule is subject to

exception if an agency's regulations require such openness, id., or "[i]f a

subcommittee makes recommendations directly to a Federal officer or agency, or if

its recommendations will be adopted by the parent advisory committee without

further deliberations by the parent advisory committee," 41 C.F.R. § 102-3.145.

      Western first alleges that the Committee is required to open subcommittee

and working group meetings and disclose their materials in light of the BLM' s

advisory committee regulations, subpart 1784. But, as discussed above, the

Committee does not fall under the BLM' s regulations.

      Western further argues that subcommittee and working group records are

subject to public review because the Royalty Committee adopts their proposals

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without further deliberation. 41 C .F .R. § 102-1.145. If correct, Western' s

allegation is sufficient under Rule 12(b)(6). While Defendants argue the factual

record shows certain subcommittee and working group recommendations have

been debated by the Committee itself, that does not foreclose Western' s broader

claim. Thus, while Defendants may be able to show 41 C.F .R. § 102-1.145 does

not apply at summary judgment or trial, Western states a claim under Count 2 as it

relates to subcommittees and working groups. Further, Western's allegations also

extend to the Committee itself, which undisputedly must provide the access and

materials outlined in FACA. (See Doc. 14 at ,r,r 107, 108.) To the extent

Defendants argue all Committee information and materials have been provided,

that assertion remains disputed.

      Western further cites the Department's Manual, which extends the

provisions ofFACA "to subcommittees and subgroups of advisory committees

established or utilized by the Department." (308 DM 2.11, Ex. Q, Doc. 18-17 at

8.) In response, Defendants argue that the Department's "manuals do not carry the

force of law and are not binding." Nat'/ Mining Ass 'n v. Zinke, 877 F.3d 845, 871

n.27 (9th Cir. 2017). Western disagrees, noting the express statement of

mandatory compliance in the Department Manual, (see 11 DM l .2(B), Doc. 31-2

at 1), and arguing the Manual consists of agency regulations. Ultimately,

Defendants' cursory dismissal of the Department Manual is unpersuasive given the


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explicit language ofFACA, which states that agencies are to "establish uniform

administrative guidelines and management controls for advisory committees

established by the agency." 5 U.S.C. App. II § 8(a).

      E.     Conclusion

      Based on the foregoing, Counts 3 and 4 are dismissed as non-justiciable

under the AP A; however, Counts 1 and 2 survive. As a result, consideration of

Westem's motion for preliminary injunctive relief is limited to the success, harms,

and equities related to the surviving counts.

II.   Preliminary Injunction

      "Preliminary injunctions are an 'extreme remedy never awarded as of

right."' Garcia v. Google, Inc., 786 F.3d 733, 740 (9th Cir. 2015) (quoting Winter

v. Natural Res. Def Council, 555 U.S. 7, 24 (2008)). A plaintiff seeking a

preliminary injunction must establish that ( 1) it is likely to succeed on the merits;

(2) it is likely to suffer irreparable harm in the absence of preliminary relief; (3) the

balance of the equities tips in its favor; and (4) an injunction is in the public

interest. Winter, 555 U.S. at 20. "When the government is a party, these last two

factors merge." Drake Bay Oyster Co. v. Jewell, 747 F.3d 1073, 1092 (9th Cir.

2014). In the Ninth Circuit, a plaintiff may also obtain injunctive relief if there are

serious questions going to the merits, the balance of hardships tips sharply in its

favor, and the remaining two Winter factors are satisfied. Id. at 1085. Assuming

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the Winter factors are met, a district court has the power to grant injunctive relief

for an alleged FACA violation. Alabama-Tombigbee Rivers Coal. v. Dep't of

Interior, 26 F.3d 1103, 1107 (11th Cir. 1994).

      Here, Western asks that Defendants be enjoined from convening any

meetings of the Committee or its subcommittees "until they comply with F ACA

and its implementing regulations by ( 1) noticing and opening to the public the

[Committee]'s subcommittee and working group meetings; (2) releasing to the

public mandatory ethics disclosures and material prepared for or by the

[CommitteeJ's subcommittees and working groups; and (3) fairly balancing the

[Committee] to include representation of [Western]'s interests." (Doc. 18 at 13.)

Based on the analysis above, the only claims that could provide a basis for relief

involve the establishment of the Committee and the provision of all Committee

(and subcommittee and working group) materials as well as open access to and

notice of all meetings. The January 31 Committee meeting has been cancelled,

(Doc. 35), and the status of other Committee or subcommittee operations is

unclear, (Doc. 36). Ultimately, Western fails to meet its burden of showing

irreparable harm in the absence of an injunction.

A.    Success on the Merits

      "The first factor under Winter is the most important-likely success on the

merits." Garcia, 786 F.3d at 740. Judicial review ofWestern's FACA claims falls

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under the APA, 5 U.S.C. § 701(a), which allows a person "suffering legal wrong

because of agency action, or adversely affected or aggrieved by agency action" to

seek judicial review of that action, 5 U.S.C. §§ 702-704. Under the APA, a

reviewing court may "compel agency action unlawfully withheld or unreasonably

delayed," 5 U.S.C. § 706(1), and "hold unlawful and set aside agency action,

findings, and conclusions" that are "arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law," 5 U.S.C. § 706(2)(A).

      An advisory committee must provide "timely notice" of its meetings to the

public, 5 U.S.C. App. II§ 10(a)(2), and must allow interested persons to "attend,

appear before, or file statements with the committee," id. at § 10(a )(3 ). All

meetings must be held "in a manner or place reasonably accessible to the public"

and allow "[a]ny member of the public [to] speak to or otherwise address the

advisory committee if the agency's guidelines so permit." 41 C.F.R. § 102-

3.140(a), (d). FACA also requires that the Committee maintain "[a]ll records,

reports, transcripts, minutes, appendixes, working papers, drafts, studies, agenda,

or other documents which were prepared for or by each advisory committee." 5

U.S.C. App. II§ l0(b). "[T]he Government must make such materials available

for public inspection and copying, even in the absence of a particular request,"

Cummock, 180 F.3d at 289, and do so before or at the meetings convened, Food

Chem. News v. Dep't ofHealth & Human Servs., 980 F.2d 1468, 1472 (D.C. Cir.

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1992).

         Westem's motion is based on the argument that "the Committee's

subcommittee and working group meetings have not been disclosed or open to the

public, and the Department has not released materials prepared for or by these

bodies." (Doc. 18 at 24.) However, most of Western's brief, (Doc. 18 at 28-30),

is based on the application of the regulations outlined in subpart 1784, which do

not apply here. Rather, Westem's only potential path to success is to show either

"a subcommittee makes recommendations directly to a Federal officer or agency,

or ... its recommendations will be adopted by the parent advisory committee

without further deliberations by the parent advisory committee." 41 C.F.R. § 102-

3.145. Because Western's own brief indicates Committee debate and public

comment on certain subcommittee and working group recommendations, (see Doc.

18 at 25), Western faces an uphill battle in proving its claims. Thus, the first and

most important Winter factor does not weigh heavily, if at all, in favor of Western.

But, even concluding Western has raised a serious question as to this issue,

Western fails to show irreparable harm.

      B.      Irreparable Harm

      A plaintiff is required to show "that irreparable injury is likely in the absence

of an injunction." Winter, 555 U.S. at 22. However, "[i]rreparable harm may be

caused by activities broader than those that plaintiffs seek to enjoin." Nat'/

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Wildlife Fed'n v. Nat'/ Marine Fisheries Serv., 886 F.3d 803, 819 (9th Cir. 2018).

"There must be a sufficient causal connection between the alleged irreparable harm

and the activity to be enjoined, and showing that the requested injunction would

forestall the irreparable harm qualifies as such a connection." Id. (internal

quotation marks omitted). Western alleges irreparable harm on three fronts:

(1) lost opportunity to influence Committee policymaking; (2) lost opportunity to

understand and disseminate information related to Committee proceedings; and

(3) environmental harm to Western's members. According to Western, "[e]very

day that the [Committee] operates in secret and without public input is an

irreparably lost opportunity for the public to understand and comment on the

nation's most important royalty policies." (Doc. 18 at 12.)

      Given that the only remaining claims are Counts 1 and 2, the only harm at

issue is participation in and access to materials from the Committee as well as its

subcommittees and working groups. Because it is unclear that these groups will

continue to operate during the lapse, it is difficult to ascertain harm. That absence

of information also makes it difficult to say that Western has not been provided

with the relevant documentation for a specific meeting. Lawyers ' Comm. for Civil

Rights Under Law v. Presidential Advisory Comm 'non Election Integrity, 265 F.

Supp. 3d 54, 69 (D.D.C. 2017) (assessment of harm limited to what materials must

be made available prior to meeting at issue). Further, Defendants indicate that the

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Committee posts all the materials that will be considered at each meeting on its

website, "including any recommendation from one of [its] subcommittees." (Doc.

25 at 17.) Thus, while

      [t ]here may be other documents that could, in theory, further facilitate
      this public debate, ... based on the information presently available, it
      appears that the principal documents have or will be disclosed, and the
      public and Plaintiff will have a substantial opportunity to debate and
      provide input with respect to the work of the Commission.
      Accordingly,· the harm that would flow from the failure to disclose
      additional materials, prior to the [relevant] meeting, is at this time too
      speculative to warrant injunctive relief.

Lawyers' Comm.for Civil Rights Under Law, 265 F. Supp. 3d at 70-71.

      Western conceded at oral argument that it has been able to participate in

Committee meetings and provide feedback on proposals made by subcommittees

and working groups to the larger Committee. While there may be a question as to

whether Western should have access to more materials related to the operation of

subcommittees and working groups, its current ability to participate in the process

indicates it will not be irreparably harmed by continued operations.

      C.     Balance of Equities and Public Interest

      In the absence of irreparable harm and in light of Western' s undisputed

ability to presently participate in Committee work, neither the equities nor the

public interest favors an injunction.

                                    CONCLUSION

      Based on the foregoing, IT IS ORDERED that Defendants' motion to
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dismiss (Doc. 24) is GRANTED as to Counts 3 and 4 and DENIED as to Counts 1

and 2. Western's motion for preliminary injunctive relief (Doc. 17) is DENIED.

      DATED this   ~t;     of January, 2019.                       /



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